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                                          18U.S.C.11594(c)                                                                yzow
                                          18U.S.C.5 1591(a)(1)& (b)(2)                                                                              ,
                                          18U.S.C.1 1594(e)(1)             '




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        D efendants.


                                        IN DIC TM EN T

        The Grand Jtlry chargesthat:

                                           C O UN T I

        From in and around July 2014,the exactdate being unknow n to the G rand Jury,through on

 oraboutSeptember10,2014,in M inmi-DadeCountyandM onroeCounty,in theSouthernDistrict

 ofFlorida,the defendants,

                               R ICK Y JER M A IN E A TK IN S and
                                       SA N DM SIM O N ,

 did knowingly and willfully com bine,conspire,confederate and agree with each otherand with

 othersknow n and unknow n to the Grand Jury,to know ingly,in and affecting interstate and foreign

 com m erce,recruit,entice,harbor,transport,provide,obtain and m aintain by any m eans a person,

 knowing,and in recklessdisregard ofthefad,thatthe person had notattained theageof18years

 and w ould be caused to engage in a com m ercial sex act,in violation of Title 18,United States

 Code,Sections 1591(a)(1)and (b)(2);al1in violation ofTitle 18,United StatesCode,Section
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  1594(c).
                                           COUNT Z

          From on oraboutAugust1,2014,theexactdatebeingunknown totheGrandJtuy,through

 on oraboutAugust20,2014,in M iami-DadeCounty and M onroeCounty,intheSouthern District

 ofFlorida,thedefendants,

                              R IC K Y JER M A IN E A TK IN S and
                                       SAN D R A SIM O N ,

 didknowingly,in and affecting interstateand foreign commerce,recruit,entice,harbor,transport,

 provide,obtain and m aintain by any m eans aperson,thatis,m inorG .W .,know ing,and in reckless

 disregardofthefact,thatG.W .hadnotattained theageof18yearsandwouldbecaused to engage

 in acommercialsex act,inviolationofTitle 18,United StatesCode,Sections1591(a)(1),(b)(2)
 and 2.

                                           COUNT 3

          From on oraboutAugust1,2014,theexactdate being unknow n to the G rand Jury,through

 on oraboutAugust20,2014,in M iami-DadeCounty and M onroeCotmty,in theSouthern District

 ofFlorida,the defendants,

                              RICKY JERMAIN/ ATKINSand
                                      SA N D R A SIM O N ,

 did knowingly,in and affecting interstateand foreign comm erce,recruit,entice,hrbor,transport,

 provide,obtain and m aintain by any meansaperson,thatis,m inorL.P.,know ing,and in reckless

 disregard ofthe fact,thatL.P..had notattained the age of 18 years and w ould be caused to engage

 in acommercialsex act,in violationofTitle 18,United StatesCode,Sections1591(a)(1),(b)(2)
 and 2.

                                                2
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                        CRIM INAL FO RFEITURE ALLEGATIONS

        1.     The allegations of this Indictm ent are re-alleged and by this reference fully

 incorporated herein for the purpose of alleging forfeiture to the United States of America of

 certain property in which the defendants, RICKY JERM AINE ATM N S and SANDM

 SIM ON,havean interest.

               Upon conviction ofany ofthe violationsalleged in thisIndictm ent,the defendant

 so convicted shallforfeitto the United Statesany property w hich thedefendantused orintended to

 be used to comm itorto facilitate such violation,and any property constituting,orderived from ,

 any proceeds w hich the defendant obtained, directly or indirectly, as the result of any such

 violation,pursuanttoTitle 18,United StatesCode,Section 1594(e).
               Thepropertysubjecttoforfeitureincludes,butisnotlimitedto:
               a.     One(1)silver2007NissanM urano,bearingFloridalicenseplate718XW K,
                      VehicleIdentiscationNumber(VIN).
                                                     1N8M 08W X7W 633345.

                                                   A TRU E BILL



                                                     OR EPER SON


  (                 kJ.t-
 W IFRED O A .FERRER
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 SETH M .SCH LESSIN GER
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  Case 1:14-cr-20895-MGC Document 3 Entered on FLSD Docket 12/10/2014 Page 4 of 6
                          UNITED STATES DISTRICT COURT
                          SO UTHERN DISTRICT OF FLORIDA


UN ITED STATES O F A M ER IC A                           CASE NO .:
VS.
                                                               CERTIFICATE O F TR IA L ATT OR NEY *
RICK Y JERM AINE ATK INS and
SANDRA SIM O N,
          Defendants.
                                                /    Superseding CaseInform ation:
CourtDivision:(selectOne)                           New Defendantts)                 Yes              No
                                                    NumberofNew Defendants
      X   hliam i                   Key W est       Totalnum berofcounts
          FTL                       W PB
          FTP
          Ido herebycertify that:
                    Ihavecarefullyconsideredtheallggationsoftheindictment,thenumberofdefendants,thenumberofprobable
                    witnessesand thelegalcomplexltlesofthe Indictment/lnfonmationattqchedhereto.
                    I am awarethattheinformationsqppliedqnthisstatementwillberelleduponbythepudgesofthisCourtin
                    settingtheircalendarsandschedullngcrimlnaltrialsunderthemandateoftheSpeedyTrlalAct,Title28 U.S.C.
                    Section 3161.
                    Interpreter:   (YesorNo)         No
                    Listlanguageand/ordialect
                    Thiscasew 1lltake      3-4      ays orthepartiestotçy.
                    PleasecheckappropriatecategoryandtypeofoffenseIistedbelow:
                    (Checkonlyone)                           (Checkonlyone)
          1.        0to5days               X                 Petty
          II.       6 to l0days                              M inor
          111.      llto20 days                              M isdemeanor
          IV.       2lto60 days                              Felony             X
          V.        61daysorover

          $         HasthiscasebeenpreviouslyfiledinthisDistrictCourt? (YesorNo)              No
          lfyes:
          Judge:                                              Case No.:
                 Attac copyo lspojltlveorder)
          Hasacomplaintbeenfiledlnthlsmatter? (YesorNo)                               No
          Ifyej:
          M aglstrateCaseNo.
          RelatedM iscellaneousnumbers:
          Defendantts)infederalcustodyasof
          Defendantts)instatecqstodyasof            092614(Slmon)
          Rule20 from theDistnctof
          Isthisapotentialdeathpenaltycase?(YesorNo)            --+-
                                                                 N
                    Doesthiscaseoriginate from a matterpending in the Northelm Region ofthe U.S.Attorney'sOffice priorto
                    Octoberl4,2003?
                          Yes          X No
          8.        Doesthis case originate from a m atterpending in theCentralRegion ofthe U.S.Attorney'sO ffice priorto
                    Septem ber1,2007?
                           Yes           X No
                                                                                               q



                                                            SETH M CSCHLESSIN GER
                                                            A SSISTANT UN ITED STATESA TTO RNEY
                                                            FloridaBarNo.:064065




#penaltySheetts)attached                                                                             REV4/8/08
Case 1:14-cr-20895-MGC Document 3 Entered on FLSD Docket 12/10/2014 Page 5 of 6

                          UNITED STATES DISTRICT CO URT
                          SOUTH ERN DISTRICT OF FLORIDA

                                      PEN A LTY SHEET

 Defendant's N am e:SAN D RA SIM ON

 Case N o:

 Count 1:

 Conspiracy to Engagein Sex TraffickingofM inors

 Title 18.United StatesCode.Section 1594(c)
 *M ax.Penalty:LifeIm prisonment
 # M in.Penalty:N one

 Counts 2-3:

 Sex Traffickina ofa M inor

 Title 18.United StatesCode,Sections 1591(a)(1)& (b)(2)
 * M ax.Penalty:Life lm prisonm ent
 *M in.Penalty:Ten (10)Years'Imprisonment




  *ltefers only to possible term ofincarceration,does notinclude possible fines,restitution,
           specialassessm ents,parole term s,or forfeitures thatm ay be applicable.
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                          UN ITED STA TE S D ISTRIC T C O U R T
                          SOUTH ERN DISTRICT OF FLO RIDA

                                      PEN ALTY SHEET

 Defendant'sN am e:RICK Y JERM A IN E A TK IN S

 Case N o:

 Count1:

 Conspiracy to Engage in Sex Traffk king ofM inors

 Title 18.United StatesCodeeSection 1594(c)
 #M ax.Penalty:LifeImprisonm ent
 * M in.Penalty:N one

 Counts 2-3:

 Sex Trafficking ofa M inor

 Title18.UnitedStatesCode.Sections1591(a)(1)& (b)(2)
 * M ax.Penalty:Life Im prisonm ent
 *M in.Penalty:Ten (10)Years'lmprisonment




  *R efers only to possible term of incarceration,doesnotinclude possible fines,restitution,
           specialassessm ents,parole term s,or forfeitures thatm ay be applicable.
